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FOR THE wEsTERN DISTRICT oF TENNESSEE nn …?P.__.l, !, l .
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MICHAEL JAY DULIN,
Plaintiff,
vs. No. 04-2809-B/P

GEORGE H. BROWN, JR., €t al.,

Defendants.

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ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Plaintiff Michael Jay Dulin, a resident of Eads, Tennessee,
filed a pro §§ complaint that asserted claims arising under 42 U S.C.
§§ 1983 and 1985(3) and Tennessee law on October 8, 2004. Plaintiff
paid the civil filing fee. The Clerk shall record the defendants as
Snelby County Circuit Court Judge George H. Brown, Jr.; S. Denise
McCrary, a private attorney; Stephanie M. Micheel, a private attorney;
and Kay G. Bardele, a resident of Georgia. On February 15, 2005,
plaintiff filed an irregular document, entitled “Judicial Notice of
Adjudicative Facts,” that appears to be a complaint about the clerk's
refusal to issue summonses until the case has been screened.

This action arises out of a divorce proceeding in Shelby
County'Circuit Court involving the plaintiff and Bardele, his ex-wife.
Defendant Brown presided over the divorce action, and defendants

McCrary and Micheel represented Bardele. On October 18, 2003, Bardele

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with Huze 58 and/or 79{a) FRCP on '

       

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filed a petition in state court seeking to hold plaintiff in civil and
criminal contempt due to his purported failure to pay child support
pursuant to a Marital Dissolution Agreement that was incorporated into
a Final Decree of Divorce. Compl., l B.l The summons was served on
Dulin on November 18, 2003, idé, l 9, and he contends that, because
it was not served within thirty days of its issuance, under Tennessee
law “[d]efendants failed to preserve the commencement of their lawsuit
and thus had no legal action at law,” id;, l 10. Plaintiff also
complains that he was afforded insufficient notice of the contempt
hearing, in violation of Tennessee law. ;d;, l 11. Dulin alleges he
appeared at the hearing on November 21, 2003 for the sole purpose of
raising the invalidity of service and his need for additional time to
retain counsel. ldéj l 12. Upon the representation. of defendant

McCrary that Dulin had proceeded pro §§ in connection with previous

contempt petitions, id., H 15,2 defendant Brown proceeded with the
hearing, id., ll 16-17. In response to the judge's questions
concerning his financial condition, id., q 18, plaintiff refused to

provide any information without first consulting with an attorney,
id., l 19; see also id. at ll 20-21. The judge told the plaintiff that

he would be held. in civil contempt for refusing to answer his

 

1 On October 7, 204, Dulin attempted to remove a subsequent petition for
criminal and civil contempt filed by his ex-wife on August 16, 2004. Dulin
§Bardele} v. Dulin, No. 04-2804#B/P (W.D. Tenn.). In an order issued on November
4, 2004, the Court remanded that petition to state court.

2 The Tennessee Court of Appeals has had two occasions to consider
matters arising out of the divorce of Dulin and Bardele. Dulin v. Dulin, No. W2002-
02758#COA-R3-CV, 2004 WL 1236142 (Tenn. Ct. App. June 3, 2004) (affirming order
holding Dulin in contempt of court and assessing arrearages of child support and
attorney's fees); Dulin v. Dulin, No. W2001-02969eCOA-R3-CV, 2003 WL 22071454
(Tenn. Ct. App. Sept. 3, 2003) (upholding orders in connection with, inter alia,
custody dispute).

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questions. ld;, l 22. According to the Dulin, the procedure used by
defendant Brown did not comport with Tennessee law. ld;, l 23. While
plaintiff was being arrested, the judge allowed Bardele to testify
without affording the ex-husband the opportunity to cross examine her.
ld;, j 24. The judge continued the criminal contempt hearing to
January 9, 2004 and allowed Bardele to be absent, thus ensuring
plaintiff would have no opportunity to cross examine her. ld;, l 25.
Before being taken to jail, plaintiff offered to answer the guestions,
but defendant Brown replied that it was too late. ld;, q 26. Plaintiff
spent the next four days in jail. ld;, j 27.

Dulin, who was then represented by counsel, appeared at the
continuation of the contempt hearing on January 9, 2004. ;d;, l 33.
Defendant Brown rejected counsel’s argument that service was improper.
ld*, jj 33-37. Plaintiff was sentenced to fourteen days in jail for
contempt. ld;, l 38.

The plaintiff seeks compensatory and punitive damages,

According to the Sixth Circuit, “a district court may not
sga sponte dismiss a complaint where the filing fee has been paid
unless the court gives the plaintiff the opportunity to amend the
complaint.” Apple v. Glenn, 183 F.Bd 477, 478 (Gth Cir. 1999) (per
curiam); see also Benson v. O'Brian, 179 F.3d 1014 (6th Cir. 1999);
Tingler v. Marshall, 716 F.2d 1109, 1112 (6th Cir. 1983). There is an
exception to this general rule, however, that permits a district court
to dismiss a complaint “for lack of subject vetter jurisdiction
pursuant to Rule 12{b)(1) of the Federal Rules of Civil Procedure when

the allegations of a complaint are totally implausible, attenuated,

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unsubstantial, frivolous, devoid of nerit, or no longer open to
discussion.” A le, 183 F.3d at 478 (citing Hagans v. Lavine, 415 U.S.
528, 536-37 (1974)). Applying these standards, plaintiff’s complaint
is subject to dismissal in its entirety.

First, plaintiff’s claim for money damages against Judge
Brown in his official capacity is, in effect, a claim against the
State of Tennessee. Hafer v. Melo, 502 U.S. 21, 25 (1991); Kentucky
v. Graham, 473 U.S. 159, 164-65 (1985); Pennhurst State Sch. & Hosp.
v. Halderman, 465 U.S. 89, 101-02 (1984). Absent a clear abrogation
of immunity by congressional action or an express state waiver of that
immunityr the Eleventh Amendment prohibits suits for damages against
a state in federal court. Graham, 473 U.S. at 165-66; Pennhurst, 465
U.S. at 98-100; Quern v. Jordan, 440 U.S. 332 (1979). Tennessee has
not waived its sovereign immunity. Tenn. Stat. Ann. § 20-13-102(a).
Accordingly, the plaintiff’s claims against Judge Brown in his
official capacity are barred by the Eleventh Amendment.3

Likewise, the plaintiff's claims against Judge Brown in his
individual capacity are barred by absolute judicial immunity. §§§
Mireles v. Waco, 502 U.S. 9, 12 (1991) (per curiam); Stump v.
Sparkman, 435 U.S. 349, 359-60 (1978); Pierson v. Ray, 386 U.S. 547,
553~54 (1967); DePierO v. Citv'of MaCedOnia, 180 F.Bd 770, 783#84 (6th
Cir. 1999); Barnes v. Winchell, 105 F.3d 1111, 1115 (6th Cir. 1997);
King v. Love, 766 F.2d 962, 965 (6th Cir. 1985). This immunity extends

to any claims against Judge Brown arising under Tennessee law. Cashion

 

3 Moreover, plaintiff’s claim pursuant to 42 U.S.C. § 1983 against the
State of Tennessee is also subject to dismissal on the ground that a state is not
a person within the meaning of § 1983. Lapides v. Board of Regents of the Univ.

SXS. Of Ga., 535 U.S. 613, 617 (2002),' Will v. MiChigan, 491 U.S. SB, 71 {1989).

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v. State, NO. 01A01-9903-BC-00174, 1999 WL 722634, at *3~*5 (Tenn. Ct.
App. Sept. 17, 1999); Heath v. Cornelius, 511 S.W.2d 683 (Tenn. 1974).

In his complaint, Dulin contends that judicial immunity is
inapplicable here because, by questioning Dulin himself, the judge
acted outside his judicial capacity' by initiating the criminal
contempt prosecution. This position is without merit. First, the
plaintiff does not dispute that Judge Brown7 had subject-matter
jurisdiction over the contempt petition.4 Pursuant to Tenn. Code Ann.
§ 16~10-101, a circuit court is a court of general jurisdiction. That
jurisdiction extends to domestic relations, Tenn. Code Ann. § 16-10-
108 (“The circuit court has concurrent jurisdiction with the chancery
court to grant divorces, to authorize the adoption of children, to
release testamentary and other trustees, and to appoint trustees in
place of those released or dead, and also to decree, on petitions of
trustees, by will or otherwise, for the sale of property, real or
personal."), and to child support orders, id;, § 36-5-101(a)(2)(A)
(“Courts having jurisdiction of the subject matter and of the parties
are hereby expressly authorized to provide for the future support of
a spouse and of the children, in proper cases, by fixing some definite
amount or amounts to be paid in n©nthly, semimonthly, or weekly
installments, or otherwise, as circumstances may warrant, and such

awards, if not paid, may be enforced by any appropriate process of the

 

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Stump v. Sparkman, 435 U.S. at 356#57 (“[T]he necessary inquiry in
determining whether a defendant judge is immune from suit is whether at the time
he took the challenged action he had jurisdiction over the subject matter before
him. . . . [T]he scope of the judge’s jurisdiction must be construed broadly where
the issue is the immunity of the judge. A judge will not be deprived of
jurisdiction because the action he took was in error, was done maliciously, or was
in excess of his authority; rather, he will be subject to liability only when he
has acted in the ‘clear absence of all jurisdiction.'“) (citation omitted).

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court having jurisdiction thereof, including levy of execution ”).
Likewiser circuit courts have contempt powers. ld;, §§ 16-1-103 (“For
the effectual exercise of its powers, every court is vested with the
power to punish for contempt, as provided for in this code.”); 29#9-
102(1) & (3); 29-9-103. The failure to obey an order directing the
payment of child support can result in civil or criminal contempt.
ld;, § 36~5-104; see Brvan v. Leach, 85 S.W.3d 136, 158-61 (Tenn. Ct.
App. 2001). In this case, the Petition for Civil and Criminal
Contempt, filed by attorneys McCrary'and Micheel on behalf of Bardele,
invoked the circuit court's jurisdiction pursuant to Tenn. Code Ann.
§ 36-5¢104.5

Relying on the judge’s questioning of him, the plaintiff
contends that Brown acted in a nonjudicial capacity. “The factors
determining whether an act by a judge is a ‘judicial’ one relate to
the nature of the act itself, iie;, whether it is a function normally
performed by a judger and to the expectations of the parties, i;e;,
whether they dealt with the judge in his official capacity.” §;pmp,
435 U.S. at 362. Moreover, a judge is not automatically stripped of

his judicial immunity when the particular act in question is not a

function normally performed by'a judge. lnstead, “the relevant inquiry

 

5 Although he does not contest that the state court had jurisdiction over
the contempt petition, plaintiff argues that there was no personal jurisdiction
over him because of the purportedly defective service. Compl., j 31. As a

preliminary matter, plaintiff has cited no authority for the proposition that,
under Tennessee law, a circuit court lacks personal jurisdiction over a party where
a summons is served less than thirty days before a hearing. Moreover, even if
plaintiff's position was accepted, at worst the state-court judge acted in excess
of his authorityr rather than in the absence of all authority. Judicial immunity
may not be pierced for lack of personal jurisdiction. Stern v. Mascio, 262 F.3d
600, 607 (SCh Cir. 2001); HOllOWay V. Brush, 220 F.3d 767, 772 (6Cl'1 Cir. 2000) (en
banc) (“Only in the absence of subject matter jurisdiction are judicial actors
devoid of the shield of immunity. ").

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is the ‘nature' and ‘function' of the act, not the ‘act itself.'

In other words, we look to the particular act's relation to a
general function normally performed by a judge.” Mireles v. Waco, 502
U.S. at 13.

Plaintiff relies on Lopez v. Vanderwater, 620 F.2d 1229 (7th
Cir. 1980), in which a state-court judge, who also had some interest
in rental property, ordered a former tenant who had returned to the
premises arrested and, without benefit of a prosecutor, arraigned,
convicted, and sentenced the tenant in the police stations The
judgment was subsequently vacated. Although the Seventh Circuit held
that the judge was absolutely immune for his acts of arraigning,
convicting, and sentencing the plaintiff, id. at 1235, he was not
entitled to judicial immunity‘ for his prosecutorial acts, which
consisted of the following:
Vanderwater acted as prosecutor. He made the decision to
prosecute. He determined the offense to be charged,
originally contemplating criminal trespass and then
deciding on theft of the key. He prepared a written charge
on the “Notice to Appear” form. He caused Gamble to sign
the blank complaint form and the next day had that form
completed by the State’s Attorney’s staff. He prepared a
guilty plea and waiver of jury and caused a signature,
which he says was Lopez’, to be placed thereon. Finally,
Vanderwater presented the charge and plea form to himself
with the expectation that it would be the basis for an
unconstitutional conviction and sentence. These acts were
not functions “normally performed by a judge.” They were

not, therefore, “judicial acts" and are not, as a
consequence, protected by judicial immunity.

Plaintiff also cites, but does not discuss, Sevier v.
Turner, 742 F.2d 262 (6th Cir. 1984), a case involving civil contempt

proceedings for nonpayment of child support in the Shelby County

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Juvenile Court. One of the defendants was a Juvenile Court Judge who,
under a contract with Shelby County, allegedly performed the
prosecutorial function of collecting overdue child support- The judge
was alleged to have threatened to prosecute fathers who were
delinquent on their child support payments in order to extract consent
orders obligating' the fathers to pay' specified amounts of child
support per week. Fathers who failed to comply with the consent orders
were allegedly held in civil contempt and ordered to make “purge”
payments or incarcerated or both. Id. at 265, 271. The Sixth Circuit
held that the judge was not entitled to judicial immunity for his
“involvement in initiating both the criminal prosecution and the civil
contempt proceeding,” as those acts were prosecutorial, rather than
judicial, in nature. Id. at 272,6
The Sixth Circuit has emphasized the narrow scope of the
exception to judicial immunity recognized in cases such as Lopez and
Sevier:
The decisions . . . reveal a common theme: despite its

breadth, the doctrine of absolute judicial immunity does

not protect a judge performing the purely prosecutorial

functions involved in initiating criminal prosecutions.

This is especially true where the judge initiates criminal

prosecutions based on the judge’s private interests,

completely separate from cases brought to court

independently by the parties. Nonetheless, this exception

to absolute judicial immunity' when. a judge engages in

purely prosecutorial functions is narrow. . . . Moreover,

even when a judge engages upon prosecutorial functions, the

broad shield of absolute judicial immunity is not

automatically overcome. . .. [A] judge can still be acting

in a judicial capacity for immunity purposes when

undertaking seemingly prosecutorial functions ill a case
brought before the judge independently' by' the parties.

 

6 The lawsuit in Sevier was settled with a consent decree in 1990 that
eliminated the practices discussed in the text. Johnson v. Turnerr 125 F.3d 324,
329*30 (6th Cir. 1997) .

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lhus, the protection afforded by absolute judicial immunity

is not foreclosed when an action, even if prosecutorial in

nature, relates to a function normally performed by a judge

or where the parties are dealing with the judge in his

judicial capacity.
Barnes v. Winchell, 105 F.3d llll, 1118-19 (6th Cir. 1997) (citations
omitted); see also id. at 1121-22.

Subsequently, in Barrett v. Harrington, 130 F.3d 246, 257

(6th Cir. 1997), the Sixth Circuit considered whether “a judge’s
instigation of a criminal investigation against a disgruntled
litigant, taken to protect the integrity of the judicial system, is
a ‘judicial act' and therefore entitled to absolute judicial
immunity.” The defendant in Barrett, a state court judge, wrote to
prosecutors to request a criminal investigation of the plaintiffr
allegedly because he appeared to be stalking her after she ruled
against him in a netter that was before her. Although the Sixth
Circuit noted that the actions of the judge were not a function
normally performed by a judge, id.,? the judge's act was nonetheless
judicial in nature:

After stripping Judge Harrington’s act of its
particularities and, peculiarities, we find the general
function of Judge Harrington’s conduct in writing to the
prosecuting authorities was to protect the integrity of the
judicial decision-making' process. Clearly; there was a

direct relational nexus between Harrington's judicial
decisions, Barrett's response in “investigating” and

 

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The Court explained:

Thus, the act of writing7 a letter of complaint to prosecuting
authorities is distinguishable from these [judicial] acts, as this
type of conduct can, and usually is, undertaken by a citizen
complainant or law enforcement personnel. Furthermore, the instigation
of criminal proceedings, by definition, is not adjudicatory in nature
and does not resolve a dispute between two parties, but rather
initiates one.

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threatening her, and Harrington’s response in contacting
the prosecuting attorneys. Based upon what Ms. Nixon and
Mr. Brinton told her that Barrett had said about her, and
their expression of concern for her safety arising out of
his conduct, Judge Harrington understandably felt
threatened by Barrett's statements, and the letters she
wrote to the prosecutors were clearly designed to address
and deter such conduct, and directly related to her role in
adjudicating the case which engendered Barrett's conduct in
the first place. Just as a party’s citation for contempt
against a party who obstructs justice is a judicial act
taken to preserve {the] integrity of the judicial system,
so too is the instigation of criminal proceedings against
a disgruntled litigant whose conduct may amount to
obstruction. lt would make little sense, and only promote
form over substance, for us to say that a judge's response
in redressing threatening' conduct which_ she physically
observes (e.g., contempt) is entitled to the cloak of
judicial immunity, but her action in redressing a threat
arising in reaction to her adjudicatory actions which she
is told of by others is not entitled to the same level of
immunity. The import is in the nexus between the Judge’s
action which gave rise to the threat and her response to
the threat, not simply the response itself.

We, therefore, hold that in circumstances in which a
judge reasonably perceives a threat to himself or herself
arising out of the judge's adjudicatory conduct, the
judge's response, be it a letter to a prosecutor or a call
to the Marshall’s office for security, is a judicial act
within the scope of judicial immunity.

Id. at 259; see also id. at 260 (“{B}ecause Harrington dealt with
Barrett in her judicial capacity, and because we find that a judge
instigating a criminal investigation against a disgruntled litigant
who has harassed her is a judicial act, we find that Judge Harrington
is entitled to absolute judicial immunity regarding her statements to
prosecuting authorities.").a

In Cooper v. Parrish, 203 F.3d 937, 944 (6th Cir. 2000), the

Sixth Circuit rejected a claim that a state-court judge was not

 

3 The Sixth Circuit also held that the judge was not entitled to absolute
immunity for allegedly false and defamatory statements she had made to the media
about the plaintiff. Id. at 261.

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entitled to absolute judicial immunity “because he engaged in
unethical conduct and acted as ai de facto counsel when he gave
prosecutors ‘ex parpe legal advice as to how the pleadings and/or
supporting documentation in such lawsuits [involving certain
nightclubs offering nude dancing] should be drafted so as to ensure
issuance of ex parte orders to close the Plaintiffs' nightclubs or
showbars.'” The Sixth Circuit concluded that the judge's actions,
although perhaps improper, were nonetheless judicial in nature:

Chancellor Alissandratos was acting in his judicial
capacity when he engagai in ex parte contact with the
prosecutors and gave the prosecutors legal advice regarding
ways that they could improve their case. . . . Tennessee
Rule of Civil Procedure 65.03(1) authorizes a judicial
officer to issue a restraining order prior to the
commencement of legal action without notice to an adverse
party. Moreover, Rule 65.03(2) provides that “[a]
restraining order may be granted only by a judge of the
court in which the action is pending or is to be filed.”
Because Chancellor Alissandratos is a judge of the court in
which the public nuisance action against the nightclubs was
ultimately filed, he was acting within his judicial
authority' when7 he met with the prosecutors from the
district attorney' general's office for the purpose of
deciding whether to grant the temporary restraining order.

Furthermore, even though Chancellor Alissandratos's
participation in ex parte communications with the
prosecutors in which he allegedly discussed tactics and
planning of the lawsuits may' have been7 improper‘ under
Tennessee law, see Tenn. Sup. Ct. R. 10, Canon 3.B.(7)
(1998) (explaining that a judge shall not engage in ex
parte communications with one of the parties unless “the
judge reasonably believes that no party will gain a
procedural or tactical advantage as a result of the ex
parte communication”), these communications were
nonetheless related7 to his general judicial functions,
which include the authority to issue an ex parte
restraining order prior to the commencement of a lawsuit.
Tenn. R. Civ. P. 65.03. lndeed, even if we assume that
Alissandratos committed “grave procedural errors” when he
gave the ex parte legal advice, he still was acting within
his judicial capacity because his conduct is related to
those general judicial functions that a chancellor normally
would perform.

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Id. at 945-46.
Finally, in Brookings v. Clunk, 389 F.3d 614 (6th Cir.

2004), the Sixth Circuit held that a probate judge who filed a
criminal complaint against the plaintiff, who was born female but
completed a sex reassignment procedure to become “male,” for knowingly
making false statements in applications for marriage licenses, was
entitled to absolute judicial immunity. ln so holding, the Court
rejected the view that the judge's act was prosecutorial rather than
judicial:

[l]n the instant case, it is illogical to conclude that

Judge Clunk, although aware that Brookings had committed

fraud upon the court in applying for a marriage license,

was required to sit silently and refrain from reporting

such conduct to the proper authorities, particularly in

light of Brookings’ continuing course of conduct in

fraudulently applying for marriage licenses. Additionallyr

if litigants are able to perpetrate fraud on courts and

subsequently threaten judges with personal liability for

reporting such behavior, the integrity of the judicial

system is jeopardized. Such actions and their attendant

results would encourage litigants to act unlawfully and

limit a judge's ability to address such conduct through

proper avenues.
Id. at 620; see also id. at 622 (“Judge Clunk was engaged in a
judicial act in swearing out a criminal complaint against Brookings
upon learning that he had committed a crime in his court. Because
Judge Clunk had information indicating that Brookings had falsified
his application for a marriage license and had attempted to obstruct
justice in a case then pending before him, he had a duty to report
Brookings' conduct to the proper authorities. Therefore, we find that
Judge Clunk's actions constitute a judicial act taken to preserve the

integrity of the judicial system.”). Likewise, because the judge's

action had no connection with “his private, non-judicial life," and

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because the controversy “arose directly from a visit to the judge in
his official capacity,” the Sixth Circuit held that the judge was
acting in his judicial capacity. ld;

Applying these standards, it is clear that Judge Brown is
entitled to absolute judicial immunity. This case is readily
distinguishable from Lopez by virtue of the fact that the contempt
petition was filed by attorneys McCrary and Micheel on behalf of
Bardele. Thus, Brown did not initiate the contempt proceeding;
instead, the parties came before Brown, in his judicial capacity, in
connection with a petition duly filed on Bardele's behalf. Barrett,
130 F.3d at 255 (“The application of judicial immunity is simple and
non-controversial when applied to ‘paradigmatic judicial acts,l or
acts of actual adjudication, i.e., acts involved in resolving disputes
between parties who have invoked the jurisdiction of the court.

The touchstone for judicial immunity is the function of dispute
resolution, or of authoritatively adjudicating private rights.")
(citation omitted); Barnes, 130 F.Bd at 1116 (“In examining the
functions normally performed by a judge, courts have found that
‘paradigmatic judicial acts' are those that involve ‘resolving
disputes between parties who have invoked the jurisdiction of a
court.'”). The Sixth7 Circuit in Barnes found that this factor,
standing alone, was sufficient to distinguish Lopez. 130 F.3d at 1119
(“Judge Winchell did not cause criminal charges that would otherwise
not be brought to be levied against Ms. Barnes. The criminal
allegations against Ms. Barnes did not belong to Judge Winchell;

rather, they belonged to Scott and Caroline Barnes.”).

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The specific instances of “prosecutorial” conduct cited by
plaintiff do not render the conduct of Judge Brown nonjudicial. As
previously noted, see supra p. 7, a court does not examine whether the
particular action of a judge, narrowly defined, is judicial but,
instead, it must “look to the particular act's relation to a general
function normally performed by a judge.” Mirelesr 502 U.S. at 13.
Plaintiff has cited no authority for the proposition that questioning
of a party by a trial judge, whether done to save time or to clarify
a point, is sufficient, in itself, to strip a judge of judicial
immunity; The judge's questioning of plaintiff occurred in a judicial
proceeding in which the judge was the trier of fact. Even if it were
assumed that the judge's actions were procedurally inappropriate-and
there appears to be no basis for concluding that they were~they were
plainly judicial in nature.

Finally, although plaintiff seeks to characterize Judge
Brown's exercise of his civil contempt authority for acts committed
in open court as prosecutorial, rather than judicial, he is incorrect
as a matter of law. Barrett, 130 F.3d at 259 (“[A] judge's citation
for contempt against a party who obstructs justice is a judicial act
taken to preserve [the] integrity of the judicial system.”).

For all the foregoing reasons, the Court DISMISSES the
complaint, in its entirety, with respect to Judge Brown for lack of

subject-matter jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1) and

(h)(3) and Apple v. Glenn.9

 

9 ss the Court has held that Judge Brown is entitled to absolute judicial

immunity as a matter of law, there is no occasion to discuss at length the reasons
why he also is entitled to qualified immunity. McPherson v. Kelsey, 125 F.3d 989,
993-94 (6th cir. 1997).

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The plaintiff also cannot sue the remaining defendants under
42 U.S.C. § 1983, which_ encompasses violations of the federal
Constitution or federal law by individuals acting under color of state
law. “A § 1983 plaintiff may‘ not sue purely private parties.”
Brotherton v. Cleveland, 173 F.3d 552, 567 (6th Cir. 1999). Thus,
“[iln order to be subject to suit under § 1983 claim, defendant's
actions must be fairly attributable to the state.” Collver v. Darling,
98 F.3d 211, 231-32 (6th Cir. 1997). The complaint provides no basis
for state action in the conduct of defendant Bardele, a natural person
who is alleged to be a party to an action filed in state court. Harmon
v. Hamilton Countv Court of Common Pleas, 83 Fed. Appx. 766, 767 (6th
Cir. Dec. 8, 2003). Similarly, private attorneys, such as defendants
McCrary and Micheel, do not act under color of state law for purposes
of § 1983. Smith v. Hilltop Basic Res., lnc., 99 Fed. Appx. 644, 646
(6th Cir. May 19, 2004); Harmon, 83 Fed. Appx. at 767 {“Here, the
defendant attorneys did not act under color of state law as privately
retained attorneys, although the acts alleged related to state court
litigation.”); Otworth v. Vaderploeg, 61 Fed. Appx. 163, 165 (6th Cir.
Mar. 19r 2003) (“A lawyer representing a client is not, by virtue of
being an officer of the court, a state actor under color of state law
within the meaning of § 1983.”); Catz v. Chalker, 142 F.3d 279, 289
(6th Cir. 1998); see Polk Countv v. Dodson, 454 UlS. 312 (1981)
(holding that public defender does not act under color of state law
for purposes of § 1983); McCord v. Bailey, 636 F.2d 606, 613 (D.C.

Cir. 1979) (applying Polk County to retained criminal lawyers).

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The plaintiff also has no claim against the defendants
pursuant to 42 U.S.C. § 1985(3), which prohibits a conspiracy “for the
purpose of depriving, either directly or indirectly, any person or
class of persons of the equal protection of the laws or of equal
privileges and immunities under the laws.”

ll]n order to state a cause of action under § 1985, the
plaintiff must allege that the defendants (1) conspired

together, (2) for the purpose of depriving, directly or
indirectly, a person or class of persons of the equal
protection of the laws, (3) and committed7 an act in

furtherance of the conspiracy, (4) which caused injury to
person. or property¢ or a deprivation, of any right or
privilege of a citizen of the United States, and (5) and
that the conspiracy' was motivated by racial, or other
class-based, invidiously discriminatory animus.

Bass v. Robinson, 167 F.3d 1041, 1050 (6th Cir. 1999).

As a jpreliminary' matter, plaintiff does not adequately
allege a conspiracy between the plaintiff, her attorneys, and Judge
Brown. “[I]n order to demonstrate the necessary conspiracy, a
plaintiff must allege specific acts or means by which the defendants
were alleged to have conspired.” Brvant-Bruce v. Vanderbilt Univ.,
lnc., 974 F. Supp. 1127 (M.D. Tenn. 1997); see also Brooks v. American
Broadcasting Cos., 932 F.2d 495 (6th Cir. 1991) (affirming denial of
motion to amend to add § 1985 claim because “the allegations are too

vague and conclusory to withstand a motion to dismiss”); Jaco v.

Bloechle, 739 F.2d 239, 245 (6th Cir. 1984); Lindsey'v. Allstate lns.

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o., 34 F. Supp. 2d 636, 645 (W.D. Tenn. 1999); cf. Gutierrez v.

 

LynCh, 826 F.Zd 1524, 1538 (6th Cir. 1987) (“It is well-settled that
conspiracy claims must be pled with some degree of specificity and
that vague and conclusory allegations unsupported by material facts

will not be sufficient to state . . . a claim.”; dismissing § 1983

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conspiracy claim). The complaint alleges no px parp§ contacts between
plaintiff or her attorneys and the judge and no extrajudicial
agreement on how the contempt petition will be handled.

Moreover, the complaint, even construed liberally, Haines
v. Kerner, 404 U.S. 519 (1972), does not allege that the defendants
sought to deprive the plaintiff of the equal protection of the laws
or that they were motivated by racial, or other class-based,
invidiously discriminatory animus.

Accordingly, the Court DISMISSES the complaint, in its
entirety, with respect to defendants McCrary, Micheel, and Bardele,
for lack of subject-matter jurisdiction pursuant to Fed. R. Civ. P.
12(b)(1) and (h)(3) and Apple v. Glenn.

The Court must also consider whether plaintiff should be
allowed to appeal this decision ip fp;ma pauperis, should he seek to
do so. Pursuant to the Federal Rules of Appellate Procedure, a non-
prisoner desiring to proceed on appeal ip fprma pauperis must obtain
pauper status under Fed. R. App. P. 24(a). See Callihan v. Schneider,
178 F.3d 800, 803-04 (6th Cir. 1999). Rule 24(a) provides that if a
party seeks pauper status on appeal, he must first file a motion in
the district court, along with a supporting affidavit. Fed. R. App.
P. 24(a)(1). However, Rule 24(a) also provides that if the district
court certifies that an appeal would not be taken in good faith, or
otherwise denies leave to appeal ;p_fp;ma_pauperis, the plaintiff must
file his motion to proceed ip fprma pauperis in the Court of Appeals.

Fed. R. App. P. 24(a)(4)~(5)-

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The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962). An appeal is not taken in
good faith if the issue presented is frivolous. ldp lt would be
inconsistent for a district court to determine that a complaint does
not warrant service on the defendants, yet has sufficient merit to
support an appeal lp forma pauperis. See Williams v. Kullman, 722 F.2d
1048, 1050 n.1 (2d Cir. 1983). The same considerations that lead the
Court to dismiss the complaint for lack of subject-matter jurisdiction
also compel the conclusion that an appeal would not be taken in good
faith.

lt is therefore CERTIFIED, pursuant to Fed. R. App. P.
24(a), that any appeal in this matter by the plaintiff is not taken
in good faith. Leave to proceed on appeal lp fprma pauperis is,
therefore, DENIED. Accordinglyg if plaintiff files a notice of appeal,
he must pay the $255 appellate filing fee in full or file a motion to
proceed pp fp;ma pauperis in the United States Court of Appeals for
the Sixth Circuit within thirty (30 ) days.

lT IS SO ORDERED thie¢ day Of Jun€, 2005.

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ANIEL BREEN
l ED STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 3 in
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Michael lay Dulin
95 Estate Drive
Eads, TN 38028

Honorable J. Breen
US DISTRICT COURT

